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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA


V.                                  NO. 4:15CR00276-KGB-17

FELICA LARRY



               ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE

       On November 20, 2015, the Court entered an order setting conditions of pretrial release

for defendant Felica Larry. The Court has been notified that the parties have agreed to modify

the conditions of Larry’s release to include location monitoring with home detention.

       The Court finds that good cause exists to modify the conditions of pretrial release for

Larry to include location monitoring with home detention. It is therefore ORDERED that Larry

is to submit to location monitoring as directed by the pretrial services office or supervising

officer and comply with all of the program requirements and instructions provided. It is also

ORDERED that Larry is restricted to her residence at all times except for employment;

education; religious services; medical, substance abuse, or mental health treatment; attorney

visits; court appearances; court-ordered obligations; or other activities approved in advance by

the pretrial services office or supervising officer. All other conditions of pretrial release in the

Court’s order of November 20, 2015 remain in effect.
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IT IS SO ORDERED this 25th day of January, 2016.




                                         ___________________________________
                                         PATRICIA S. HARRIS
                                         UNITED STATES MAGISTRATE JUDGE




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